                       Case 1:21-cv-04186-MLB Document 2 Filed 10/12/21 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Northern District
                                                    __________ Districtof
                                                                        ofGeorgia
                                                                          __________

                         LISA BAKER                                  )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:21-cv-4186
                                                                     )
             CITY OF ATLANTA,                                        )
  OFFICER AMANDA WORTHAM, individually, and                          )
       OFFICER JOHN DOE, individually.                               )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) City of Atlanta
                                           55 Trinity Ave. SW,
                                           Atlanta GA 30303




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Drago Cepar, Jr.
                                           Law Office of Drago Cepar, Jr.
                                           1900 The Exchange, Suite 490
                                           Atlanta, GA 30339
                                           Tel: 770 940 3233 / Fax: 770 874 2987
                                           E-mail: dcepar@gmail.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                 KEVIN P. WEIMER
                                                                                CLERK OF COURT


Date:             10/12/2021                                                              s/Stephanie Wilson-Bynum
                                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:21-cv-4186

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
